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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

SAMUEL MANN, MACKENZY
HAMBY, NATHANIEL HAMBY, and
KEVIN TRUNNELL, individually and Civil Action No.
on behalf of all similarly-situated
persons,

         Plaintiffs,                        JURY TRIAL DEMANDED

v.

EMERGENT TECHNOLOGIES
GROUP, L.L.C. and RONALD
PEARCEY,

       Defendants.


                       COLLECTIVE ACTION COMPLAINT

      Plaintiffs Samuel Mann, Mackenzy Hamby, Nathaniel Hamby, and Kevin

Trunnell (collectively, “Plaintiffs”) bring this action against Defendants Emergent

Technologies Group, L.L.C. (“Emergent”) and Ronald Pearcey (collectively with

Emergent, “Defendants”). Plaintiffs bring claims under the Fair Labor Standards

Act of 1938, 29 U.S.C. §§ 201 et seq. (the “FLSA”) on behalf of themselves and

other similarly-situated persons who Defendants deprived of overtime and minimum

wages. Plaintiffs seek unpaid overtime and minimum wages, liquidated damages,



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interest, and attorneys’ fees and costs on their FLSA claims. Plaintiffs also assert

individual Georgia state-law claims against Emergent for breach of contract and, in

the alternative, quantum meruit, promissory estoppel, and unjust enrichment.

Finally, Plaintiffs assert an individual claim for reasonable attorneys’ fees and costs

pursuant to O.C.G.A. § 13-6-11. Plaintiffs show the Court as follows:

    NATURE OF THE ACTION AND SUMMARY OF ALLEGATIONS

      1.        Plaintiffs bring individual and collective claims under the FLSA and

allege on behalf of themselves, and other current and former Linemen and other

similarly-situated persons who choose to opt into this action pursuant to the FLSA,

29 U.S.C. § 216(b), (the “Collective Action”) that:

           a.      Plaintiffs and the persons who opt into the Overtime

                   Collective (defined herein) were misclassified by Defendants

                   as independent contractors and are, inter alia, entitled to

                   (i) unpaid overtime wages for all hours worked in excess of

                   40 during each week during the relevant time period;

                   (ii) liquidated damages with respect to the unlawfully

                   withheld tips; (iii) interest; and (iv) attorneys’ fees and costs;

                   and that




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           b.      Plaintiffs and the persons who opt into the Minimum Wage

                   Collective (defined herein) are, inter alia, entitled to

                   (i) unpaid minimum wages from Defendants for work for

                   which they did not receive the proper minimum wage;

                   (ii) liquidated damages with respect to the minimum wages;

                   (iii) interest; and (iv) attorneys’ fees and costs.

The Overtime Collective and Minimum Wage Collective are jointly referred to

throughout this Complaint as the “FLSA Collectives.”

      2.        Plaintiffs also assert five (5) individual claims against Emergent under

Georgia law. First, Plaintiffs asserts a claim for breach of contract arising from

Emergent’s failure to pay wages due for approximately two weeks’ worth of work

that Plaintiffs performed for Emergent (Count V). In the alternative, Plaintiffs assert

equitable claims for quantum meruit, promissory estoppel, and unjust enrichment

(Counts VI–VIII). Lastly, Plaintiffs assert a claim for their expenses of litigation,

including reasonable attorneys’ fees and costs, pursuant to O.C.G.A. § 13-6-11

(Count IX).

                            JURISDICTION AND VENUE

      3.        This Court has federal-question jurisdiction over this FLSA Collective

Action Complaint pursuant to 28 U.S.C. § 1331.


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      4.       Pursuant to 28 U.S.C. § 1367, the Court has supplemental jurisdiction

over Plaintiffs’ state-law claims because such claims relate to Plaintiffs’

employment with Defendants and Defendants’ compensation practices, and are so

related to Plaintiffs’ FLSA claims that they form part of the same case or

controversy.

      5.       Venue is proper in this district and division pursuant to 28 U.S.C.

§ 1391(b)(1) and Local Rule 3.1(B) because (i) Emergent is a Georgia

limited-liability company with its Principal Office Address in the Atlanta Division

of the Northern District of Georgia, and (ii) upon information and belief,

Defendant Pearcey is a resident of the State of Georgia.

                                     PARTIES

      6.       Plaintiffs Samuel Mann, Mackenzy Hamby, and Nathaniel Hamby are

U.S. citizens and residents of the State of Kentucky. Plaintiff Kevin Trunnell is a

U.S. citizen and resident of the state of Illinois. Plaintiffs submit themselves to the

jurisdiction of this Court.

      7.       Plaintiff Samuel Mann was employed by Defendants as a Lineman

from approximately June 2021 until the end of September 2021. His Consent to Join

this action is Exhibit A to this Complaint.




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      8.     Plaintiff Mackenzy Hamby was employed by Defendants as a Lineman

from approximately June 2021 until the end of September 2021. His Consent to Join

this action is Exhibit B to this Complaint.

      9.     Plaintiff Nathaniel Hamby was employed by Defendants as a Lineman

from approximately August 2021 until the end of September 2021. His Consent to

Join this action is Exhibit C to this Complaint.

      10.    Plaintiff Kevin Trunnell was employed by Defendants as a Lineman

from approximately August 2021 until the end of September 2021. His Consent to

Join this action is Exhibit D to this Complaint.

      11.    Plaintiffs were Defendants’ “employees” within the meaning of the

FLSA at all times relevant to this Complaint

      12.    Emergent is a Georgia limited-liability company with its Principal

Office Address at 5390 Sandy Lake East, Lithonia, Georgia 30038, where

Emergent’s registered agent, Ronald Pearcey, may be served.

      13.    At all relevant times, Emergent has been, and continues to be, an

“employer” engaged in interstate commerce within the meaning of the FLSA,

29 U.S.C. § 207.

      14.    On information and belief, Emergent has had an annual gross volume

of sales made or business done in excess of $500,000 at all relevant times.


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      15.    Emergent was the employer of Plaintiffs and the other members of the

FLSA Collectives within the meaning of the FLSA at all times relevant to this

Complaint.

      16.    On information and belief, Defendant Pearcey is a Georgia resident

who conducts business in the Atlanta Division of the Northern District of Georgia.

      17.    At all relevant times, Defendant Pearcey asserted control of Emergent’s

day-to-day operations, had ultimate responsibility for the supervision of Plaintiffs

and the other members of the FLSA Collectives, and made the decision not to pay

Plaintiffs and the other members of the FLSA Collectives overtime and/or minimum

wages as required by the FLSA, and is therefore an “employer” within the meaning

of the FLSA.

      18.    Defendants are governed by and subject to 29 U.S.C. §§ 206 and 207.

                  FLSA COLLECTIVE ACTION ALLEGATIONS

      19.    Plaintiffs bring this action on behalf of themselves and all other

similarly-situated persons pursuant to 29 U.S.C. § 216(b).

      20.    Plaintiffs   seek   to   represent   the   following   two   groups   of

similarly-situated persons pursuant to 29 U.S.C. § 216(b):

             a.     First, persons who were, or are, employed by Defendants

                    as non-exempt Linemen—or performing materially


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                  similar work to Linemen—at any time within the period

                  beginning three (3) years prior to filing this action (the

                  “relevant time period”), who Defendants: misclassified as

                  independent contractors; paid a flat daily rate for all time

                  worked, regardless of the number of hours worked per day

                  or the number of hours worked per week; and did not pay

                  overtime at the required rate for hours worked in excess of

                  40 per workweek (the “Overtime Collective”); and

            b.    Second, persons who were, or are, employed by

                  Defendants as non-exempt Linemen—or performing

                  materially similar work to Linemen—at any time within

                  the relevant time period who Defendants misclassified as

                  independent contractors and who did not receive minimum

                  wage at the federally-mandated rate for every hour in a

                  workweek (the “Minimum Wage Collective”).

      21.   Plaintiffs and the other members of the FLSA Collectives do not meet

the criteria for any recognized exemption to the FLSA’s overtime or minimum wage

requirements.




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      22.    The FLSA Collectives are so numerous that individual joinder of all

members is impracticable and would not further the intent of 29 U.S.C. § 216(b).

The precise number of persons within the FLSA Collectives is unknown, and the

information permitting a determination of the number of members of the FLSA

Collectives lies within the sole possession of Defendants. However, there are, upon

information and belief, at least seven (7) members of the FLSA Collectives, several

of whom would not be likely to file individual suits because they lack adequate

financial resources, access to attorneys, and/or knowledge of their claims.

      23.    Plaintiffs will fairly and adequately protect the interests of the members

of the FLSA Collectives and have retained counsel experienced and competent in

wage and hour law and collective-action litigation.

      24.    Questions of law and fact common to the members of the FLSA

Collectives predominate over questions that may affect only individual members

because Defendants have acted on grounds generally applicable to all members of

the FLSA Collectives.

      25.    Members of the Overtime Collective are similarly situated under the

FLSA because, inter alia:

             a.    They held the same or materially similar positions with

                   Defendants during the relevant period;


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            b.    They had the same or materially similar job duties during

                  the relevant time period;

            c.    Defendants, applying a policy and practice common to the

                  Collective, encouraged and/or knowingly permitted

                  Collective members to work more than 40 hours per week;

            d.    Defendants, applying a policy and practice common to the

                  FLSA Collectives, misclassified Plaintiffs and the other

                  members of the FLSA Collectives as independent

                  contractors;

            e.    Members of the Overtime Collective worked more than

                  40 hours per week during one or more weeks during the

                  relevant time period; and

            f.    Defendants, applying a policy and practice common to the

                  Overtime Collective, failed to pay Overtime Collective

                  members        overtime       compensation   at   a   rate   of

                  one-and-one-half times their regular rate of pay for all time

                  worked in excess of 40 hours per week;

      26.    Members of the Minimum Wage Collective are similarly situated

under the FLSA because, inter alia:


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            a.    They held the same or materially similar positions with

                  Defendants during the relevant period;

            b.    They had the same or materially similar job duties during

                  the relevant time period;

            c.    Defendants, applying a policy and practice common to the

                  FLSA Collectives, misclassified Plaintiffs and the other

                  members of the FLSA Collectives as independent

                  contractors; and

            d.    Defendants failed to pay members of the Minimum Wage

                  Collective the minimum wage required by the FLSA by,

                  inter alia, failing to pay members of the Minimum Wage

                  Collective any wages for approximately two weeks of

                  work performed in September 2021.

                 ADDITIONAL FACTUAL ALLEGATIONS

      27.   Emergent is a Georgia limited-liability company that does business in

the Southeastern United States.      It contracts with third parties to install

telecommunication networks, including fiber-optic networks.

      28.   Defendants employed Plaintiffs and the other members of the FLSA

Collectives as Linemen.


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      29.   Defendants employed Plaintiffs and the other Linemen to provide

telecommunication-installation services, including the hanging or burying of

fiber-optic lines, to third-party clients with which Emergent had contracted to

provide such services.

      30.   Throughout the relevant time period, Defendants misclassified

Plaintiffs and the other Linemen as independent contractors.

      31.   Plaintiffs and the other Linemen were paid a flat daily rate for each

workday, regardless of the number of hours worked per day or hours worked each

week in excess of 40. Defendants made these payments directly to Plaintiffs and the

other Linemen via a variety of payment applications, such as Cash App or Venmo.

      32.   With respect to Plaintiffs’ compensation, Defendants paid Plaintiffs a

flat rate of $250.00 per workday. On information and belief, the other Linemen

employed by Defendants were also paid a flat per-day rate without overtime

compensation for time worked in excess of 40 hours per workweek.

      33.   Defendants’ Linemen’s primary duties were, generally: to drive from

their homes to the third-party’s central location, where they received their work

orders for the day from their Supervisor, Cody Anglin; to pick up the company trucks

and equipment provided by Defendants; to fulfill the work orders provided to them




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at the beginning of each day; and to return Defendants’ trucks and equipment at the

end of each workday before driving home.

      34.    Defendants’ Linemen reported directly to Mr. Anglin, who was also

employed by Defendants. Mr. Anglin was responsible for providing the Linemen

with the jobs that had been assigned to them by Defendants. Mr. Anglin also

facilitated communications between Defendants and the Linemen.

      35.    Defendants directed the Linemen’s day-to-day job activities, including,

without limitation: setting their regular work schedules, setting their rates of pay,

assigning their work, and determining their work location.

      36.    Defendants provided materially all the investment in the equipment that

the Linemen used to perform their jobs, including providing the trucks and

network-installation equipment used the Linemen, and providing training to new

Linemen.

      37.    Plaintiffs and the other Linemen made little, if any, investment in

Defendants’ business enterprise.

      38.    Plaintiffs’ and the other Linemen’s wages depended solely on the

number of days that they worked. Managerial skill and individual initiative were

not material factors in Plaintiffs’ and the other Linemen’s compensation because,

inter alia, they: did not supervise other employees; did not make hiring or firing


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decisions; were assigned job duties by Defendants; and were paid a flat daily rate

without regard to the number of hours worked each day or each week.

      39.    As an example, Defendants’ Linemen traveled to a warehouse in

Tennessee owned by Mastech, a third-party company with which Emergent had

contracted to provide fiber-optic installation services, where they would pick up their

company-provided trucks and equipment and perform the jobs assigned to them by

Mr. Anglin. After the Linemen completed the jobs that had been assigned to them

for the day, they would return to Mastech’s warehouse to drop off Emergent’s trucks

and equipment before returning to their homes.

      40.    Plaintiffs and the other Linemen worked substantial hours in excess of

40 per week. More specifically, Plaintiffs each worked, on average, 60–75 hours

per workweek throughout their employment with Defendants, exclusive of drive

time to or from work. On information and belief, Defendants’ other Linemen

worked similar hours each week.

      41.    Defendants knew or should have known Plaintiffs and the other

Linemen worked substantial hours in excess of 40 per week because Mr. Anglin had

actual knowledge of Plaintiffs’ and the other Linemen’s work hours via his

communications with, and supervision of, Plaintiffs and the other Linemen.




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      42.      On or about September 24, 2021, Plaintiffs and the other Linemen did

not receive compensation for the prior two-week period, during which Plaintiffs and

Defendants’ other Linemen worked approximately ten (10) days.             Defendant

Pearcey informed Plaintiffs and the other Linemen that Defendants did not have the

money due to an alleged bank-related issue but promised that all owed wages would

eventually be paid.

      43.      To date, neither Plaintiffs nor Defendants’ other Linemen have been

paid the two weeks of pay owed to them.

      44.      Defendants did not compensate Plaintiffs and the other Linemen for all

hours that they worked beyond 40 per week at one-and-one-half times their regular

rate of pay.

      45.      On information and belief, Defendants did not keep accurate records of

the work hours of Plaintiffs and the other Linemen, as required by the FLSA and its

implementing regulations.

      46.      Defendants’ failure to pay Plaintiffs and the other Linemen

one-and-one-half times their regular rates of pay for the hours they worked in excess

of 40 per week was pursuant to a policy and practice Defendants intentionally

applied to Plaintiffs and their fellow Linemen.




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      47.   Despite Defendants’ knowledge of overtime worked by Plaintiffs and

the other Linemen, Defendants continued their widespread practices of

(i) encouraging or knowingly permitting members of the Overtime Collective to

work overtime hours and (ii) failing to pay Plaintiffs and the other members of the

Overtime Collective overtime premium pay when they work overtime hours.

      48.   Further, Defendants’ failure to pay Plaintiffs and other members of the

Minimum Wage Collective the minimum wage mandated by the FLSA for at least

two weeks of their employment was part of a widespread practice.

      49.   Defendants’ FLSA violations were willful and not in good faith.

      50.   Defendants have acted in bad faith and caused Plaintiffs unnecessary

trouble and expense.

                                 COUNT I
  (Individual FLSA Claims Asserted by Plaintiffs against both Defendants)
           Willful Failure Pay Overtime in Violation of the FLSA

      51.   Defendants engaged in a widespread pattern, policy, and practice of

violating the FLSA by failing to pay Plaintiffs at a rate of one-and-one-half times

their regular rate of pay for hours worked in excess of 40 per week.

      52.   At all relevant times, Plaintiffs were engaged in commerce within the

meaning of the FLSA, 29 U.S.C. § 207.




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      53.    The overtime wage provisions set forth in the FLSA apply to

Defendants and protect Plaintiffs.

      54.    At all relevant times, Defendant Pearcey asserted control of Emergent’s

day-to-day operations, and made the decisions regarding the amount that Plaintiffs

and the other members of the Overtime Collective would be compensated, including

the decision not to pay Plaintiffs and the other members of the Overtime Collective

overtime pay for all hours worked in excess of 40 per week, and is therefore an

employer within the meaning of the FLSA.

      55.    At all relevant times, Defendants were employers engaged in interstate

commerce within the meaning of the FLSA, 29 U.S.C. § 207.

      56.    At all relevant times, Defendants employed Plaintiffs within the

meaning of the FLSA.

      57.    On information and belief, Defendants have had gross annual revenues

in excess of $500,000 at all times relevant to this Complaint.

      58.    Throughout the relevant time period, Defendants misclassified

Plaintiffs as independent contractors.

      59.    On information and belief, Defendants failed to pay Plaintiffs at

one-and-one-half times their regular rate of pay for all time worked in excess of

40 hours per week throughout the relevant time period.


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      60.     At all relevant times, Defendants paid Plaintiffs a flat daily rate per

workday, regardless of the number of hours worked per day or hours worked in

excess of 40 per workweek.

      61.     As a result of Defendants’ willful failure to compensate Plaintiffs at a

rate of one-and-one-half times their regular rate of pay for hours worked in excess

of 40 per week, Defendants violated the FLSA, including 29 U.S.C. §§ 207(a)(1)

and 215(a).

      62.     The foregoing conduct, as alleged, constitutes a willful violation of the

FLSA within the meaning of 29 U.S.C. § 255(a), and thus, a three-year statute of

limitations applies, pursuant to 29 U.S.C. § 255.

      63.     Defendants did not make a good-faith effort to comply with the FLSA

with respect to their compensation of Plaintiffs.

      64.     Due to Defendants’ willful FLSA violations, Plaintiffs are entitled to

recover from Defendants (a) their unpaid overtime wages for all of the hours that

they worked in excess of 40 per week during the relevant time period, (b) an

additional and equal amount as liquidated damages, (c) interest, and (d) reasonable

attorneys’ fees and costs.




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                                 COUNT II
        (Collective FLSA Overtime Claims against both Defendants)
       Willful Failure to Pay Overtime Wages in Violation of the FLSA

      65.   Plaintiffs seek to represent the following collective group of

non-exempt employees who Defendants failed to pay all overtime wages due:

      All persons who were, or are, employed by Defendants as Linemen—
      or performing materially similar work as Linemen—at any time within
      three years prior to the filing of this Complaint who Defendants
      misclassified as independent contractors and failed to pay overtime at
      one-and-one-half times their regular rate of pay for time worked in
      excess of 40 hours per week.

This is the “Overtime Collective.”

      66.   At all relevant times, in the course of Defendants’ business operations,

Defendants’ employees, including Plaintiffs and the other members of the Overtime

Collective, have handled or otherwise used materials that have been moved or

produced in interstate commerce.

      67.   At all relevant times, Defendant Pearcey asserted control of Emergent’s

day-to-day operations, and made the decisions regarding the amount that Plaintiffs

and the other members of the Overtime Collective would be compensated, including

the decision not to pay Plaintiffs and the other members of the Overtime Collective

overtime pay for all hours worked in excess of 40 per week, and is therefore an

employer within the meaning of the FLSA.



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      68.    At all relevant times, Defendants were “employer[s]” of Plaintiffs and

the other Overtime Collective members, as that term is defined by 29 U.S.C.

§ 203(d).

      69.    On information and belief, Defendants have had gross annual revenues

in excess of $500,000 at all times relevant to this Complaint.

      70.    Defendants are governed by and subject to 29 U.S.C. § 207.

      71.    The overtime wage provisions set forth in the FLSA apply to

Defendants and protect Plaintiffs and the other members of the Overtime Collective.

      72.    The FLSA requires employers, such as Defendants, to compensate

employees, such as Plaintiffs and the other members of the Overtime Collective, at

a rate of one-and-one-half times their regular rate of pay for all hours worked in

excess of 40 in each workweek.

      73.    Defendants required Plaintiffs and other members of the Overtime

Collective to work substantially more than 40 hours per workweek.

      74.    As a systemic practice, Defendants (a) misclassified Plaintiffs and the

other members of the Overtime Collective as independent contractors and (b) failed

to pay Plaintiffs and the other members of the Overtime Collective at

one-and-one-half times their regular rate when they worked in excess of 40 hours

per week. Instead, Defendants paid Plaintiffs and the other members of the Overtime


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Collective a flat daily rate, regardless of the number of hours worked per day or per

week.

        75.   The foregoing conduct, as alleged, constitutes a willful violation of the

FLSA within the meaning of 29 U.S.C. § 255(a), and thus, a three-year statute of

limitations applies, pursuant to 29 U.S.C. § 255.

        76.   Defendants did not make a good-faith effort to comply with the FLSA

with respect to their compensation of Plaintiffs and the other members of the

Overtime Collective.

        77.   Defendants are liable to Plaintiffs and the other members of the

Overtime Collective for: (a) all unpaid overtime wages during the relevant time

period; (b) an additional and equal amount of liquidated damages for Defendants’

violations of the FLSA; (c) interest; and (d) reasonable attorneys’ fees and costs.

                                     COUNT III
                   (Individual Minimum Wage Claims Asserted
                       by Plaintiffs against both Defendants)
          Willful Failure Pay Minimum Wages in Violation of the FLSA

        78.   Defendants engaged in a widespread pattern, policy, and practice of

violating the FLSA by failing to pay Plaintiffs the minimum of $7.25 per hour for

all hours worked.

        79.   At all relevant times, Plaintiffs were engaged in commerce within the

meaning of the FLSA, 29 U.S.C. § 206.

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      80.    The minimum-wage provisions set forth in the FLSA apply to

Defendants and protect Plaintiffs.

      81.    At all relevant times, Defendant Pearcey asserted control of Emergent’s

day-to-day operations, and made the decisions regarding the amount that Plaintiffs

would be compensated, including the decision not to pay Plaintiffs any wages for an

approximately two-week period in September 2021, and is therefore an employer

within the meaning of the FLSA.

      82.    At all relevant times, Defendants were employers engaged in interstate

commerce within the meaning of the FLSA, 29 U.S.C. § 206.

      83.    On information and belief, Defendants have had gross revenues in

excess of $500,000 at all times relevant to this Complaint.

      84.    At all relevant times, Defendants employed Plaintiffs within the

meaning of the FLSA.

      85.    Defendants failed to pay Plaintiffs any wages for work performed

during an approximately two-week period in September 2021.

      86.    As a consequence of Defendants’ failure to pay Plaintiffs any wages

during an approximately two-week period in September 2021, Defendants failed to

pay Plaintiffs the minimum wage of $7.25 per hour for all hours worked, in violation

of the FLSA.


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      87.    The foregoing conduct, as alleged, constitutes a willful violation of the

FLSA within the meaning of 29 U.S.C. § 255(a), and thus, a three-year statute of

limitations applies, pursuant to 29 U.S.C. § 255.

      88.    Defendants did not make a good-faith effort to comply with the FLSA

with respect to their compensation of Plaintiffs.

      89.    Due to Defendants’ willful FLSA violations, Plaintiffs are entitled to

recover from Defendants (a) all unpaid minimum wages during the relevant time

period, (b) an additional and equal amount as liquidated damages, (c) interest, and

(d) reasonable attorneys’ fees and costs.

                                 COUNT IV
        (Collective Minimum Wage Claims against both Defendants)
       Willful Failure to Pay Minimum Wages in Violation of the FLSA

      90.    Plaintiffs seek to represent the following collective group of

non-exempt employees who Defendants failed to pay the federally-mandated

minimum wage for all hours worked:

      All persons who were, or are, employed by Defendants as Linemen—
      or performing materially similar work as Linemen—at any time within
      three years prior to the filing of this Complaint and who did not receive
      minimum wage at the federally mandated rate for every hour worked.

This is the “Minimum Wage Collective.”




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      91.     At all relevant times, Plaintiffs and the other members of the Minimum

Wage Collective were engaged in commerce or in the production of goods for

commerce within the meaning of the FLSA, 29 U.S.C. § 206.

      92.     At all relevant times, Defendant Pearcey asserted control of Emergent’s

day-to-day operations, and made the decisions regarding the amount that Plaintiffs

and the other members of the Minimum Wage Collective would be compensated,

including the decision not to pay Plaintiffs and the other members of the Minimum

Wage Collective any base wages for an approximately two-week period in

September 2021, and is therefore an employer within the meaning of the FLSA.

      93.     At all relevant times, Defendants were, and continue to be, employers

engaged in commerce within the meaning of the FLSA, 29 U.S.C. § 206.

      94.     Upon information and belief, Defendants have had gross annual

revenues in excess of $500,000.

      95.     At all relevant times, Defendants employed, and/or continue to employ,

Plaintiffs and the other members of the Minimum Wage Collective within the

meaning of the FLSA.

      96.     The minimum-wage provisions set forth in the FLSA apply to

Defendants and protect Plaintiffs and the other members of the Minimum Wage

Collective.


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      97.    The FLSA requires employers, such as Defendants, to minimally

compensate employees, such as Plaintiffs and the other members of the Minimum

Wage Collective, at the federal minimum wage of $7.25 for each hour worked.

      98.    During the relevant time period, and as a widespread practice,

Defendants failed to pay Plaintiffs and the other members of the Minimum Wage

Collective the federal minimum wage for all hours worked.

      99.    The foregoing conduct, as alleged, constitutes a willful violation of the

FLSA within the meaning of 29 U.S.C. § 255(a), and thus, a three-year statute of

limitations applies, pursuant to 29 U.S.C. § 255.

      100. Defendants did not make a good-faith effort to comply with the FLSA

with respect to their compensation of Plaintiffs and the other members of the

Minimum Wage Collective.

      101. Defendants are liable to Plaintiffs and the other members of the

Minimum Wage Collective for: (a) all unpaid minimum wages during the relevant

time period; (b) an additional and equal amount of liquidated damages; (c) interest;

and (d) reasonable attorneys’ fees and costs of litigation.




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                                   COUNT V
                   Breach of Contract—Failure to Pay Wages
                    (Asserted by Plaintiffs against Emergent)
      102. Emergent agreed to pay Plaintiffs set daily-rate compensation for

services rendered, forming an employment contract with Plaintiffs.

      103. The employment contract imposed a duty of good faith and fair dealing

upon Emergent.

      104. Plaintiffs each fully performed their respective contractual obligations.

      105. Emergent promised Plaintiffs the compensation in exchange for which

Plaintiffs accepted their positions with Emergent and performed valuable services

for Emergent.

      106. Plaintiffs relied upon Emergent’s compensation promises in accepting

their positions with Emergent and performing valuable services for Emergent.

      107. In breach of their employment contracts, Emergent failed to pay

Plaintiffs approximately two weeks’ wages to which they are entitled.

      108. Emergent is liable to Plaintiffs for breach of contract in the full amount

of the wages due to them, plus interest and attorneys’ fees and costs.




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                   COUNT VI (PLED IN THE ALTERNATIVE)
                                 Quantum Meruit
                     (Asserted by Plaintiffs against Emergent)
         109. In the alternative, Emergent is liable to Plaintiffs for quantum meruit in

the full amount of compensation owed to them, plus interest and attorneys’ fees and

costs.

         110. In reliance on the representation by Emergent that they would be paid

all compensation owed and promised, Plaintiffs accepted their positions with

Emergent and performed valuable services for Emergent.

         111. The services Plaintiffs performed for Emergent were done at the request

of Emergent, which knowingly accepted such services.

         112. Emergent’s acceptance of Plaintiffs’ services without payment to them

of the wages promised would be unjust.

         113. At the time Plaintiffs performed services for Emergent, they each

expected to be paid all compensation owed and promised.

         114. At the time Plaintiffs performed services for Emergent, Emergent knew

that they each expected Emergent to pay them all wages owed and promised.

         115. Emergent is liable to Plaintiffs for quantum meruit in the full amount

owed, plus interest and attorneys’ fees and costs.




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                 COUNT VII (PLED IN THE ALTERNATIVE)
                             Promissory Estoppel
                   (Asserted by Plaintiffs against Emergent)
      116. In the alternative, Emergent is liable to Plaintiffs for promissory

estoppel pursuant to O.C.G.A. § 13-3-44 in the full amount owed, plus interest and

attorneys’ fees and costs.

      117. Emergent promised Plaintiffs that Emergent would compensate each of

them for services they provided by paying them the agreed-upon compensation.

      118. Emergent should have reasonably expected Plaintiffs to rely on its

promise to pay them the full wages that they each were owed and promised.

      119. In reliance on the representation by Emergent that they each would be

paid the full compensation owed and promised, Plaintiffs accepted their positions

with Emergent and performed valuable services for Emergent.

      120. Plaintiffs each relied on Emergent’s promise to their detriment by

performing valuable services for Emergent instead of pursuing other opportunities.

      121. Injustice can only be avoided by enforcing Emergent’s promise to pay

Plaintiffs the full amount of wages owed and promised to them.

      122. Emergent is liable to Plaintiffs for promissory estoppel pursuant to

O.C.G.A. § 13-3-44 in the full amount owed and promised, plus interest and

attorneys’ fees and costs.



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                COUNT VIII (PLED IN THE ALTERNATIVE)
                             Unjust Enrichment
                  (Asserted by Plaintiffs against Emergent)

      123. In the alternative, Emergent is liable to Plaintiffs for unjust enrichment

in the amount of the full wages owed, plus interest and attorneys’ fees and costs.

      124. Emergent promised Plaintiffs that Emergent would compensate them

for valuable services that they each provided by paying them the wages owed and

promised to them.

      125. Emergent requested that Plaintiffs perform valuable services for its

benefit, and knowingly accepted such services, with the full knowledge that

Plaintiffs each performed such valuable services because of Emergent’s promise to

pay them the full compensation agreed upon.

      126. In reliance on the representation by Emergent that they would be paid

the full compensation promised, Plaintiffs each performed valuable services for

Emergent and thereby conferred a benefit to Emergent.

      127. Injustice can only be avoided by enforcing Emergent’s promise to pay

Plaintiffs the full compensation owed to them.

      128. Emergent is liable to Plaintiffs for unjust enrichment in the amount of

the full compensation owed, plus interest and attorneys’ fees and costs.




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                                  COUNT IX
             Expenses of Litigation Pursuant to O.C.G.A. § 13-6-11
                  (Asserted by Plaintiffs against Emergent)
       129. Emergent has acted in bad faith, including, but not limited to, its breach

of the employment contract, by failing to pay Plaintiffs wages to which they are

entitled.

       130. In refusing to pay Plaintiffs the wages that they are owed, Emergent has

caused Plaintiffs unnecessary trouble and expense.

       131. Pursuant to O.C.G.A. § 13-6-11, Emergent is liable for Plaintiffs’

expenses of litigation, including attorneys’ fees and costs.

                             PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs and all other members of the FLSA Collectives who

join this action demand a TRIAL BY JURY and request the entry of a judgment

granting the following relief:

       a)    Designation of this action as a collective action and prompt

             issuance of notice pursuant to 29 U.S.C. § 216(b) to all

             similarly-situated persons employed by Defendants during the

             relevant time period, apprising them of the pendency of this

             action, permitting them to assert timely FLSA claims in this




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     action by filing individual Consents to Join pursuant to 29 U.S.C.

     § 216(b), and tolling of the statute of limitations;

b)   A declaratory judgment that Defendants’ practices complained

     of herein violated the FLSA;

c)   Application of the FLSA’s three-year statute of limitations;

d)   An award of unpaid overtime compensation due under the FLSA

     to Plaintiffs and the other members of the Overtime Collective;

e)   An award of liquidated damages as a result of Defendants’ failure

     to pay overtime wages to Plaintiffs and the other members of the

     Overtime Collective;

f)   An award of unpaid minimum wages due under the FLSA to

     Plaintiffs and the other members of the Minimum Wage

     Collective;

g)   An award of liquidated damages as a result of Defendants’ failure

     to pay minimum wages to Plaintiffs and the other members of

     the Minimum Wage Collective;

h)   With respect to Plaintiffs’ state-law claims, an award to Plaintiffs

     of all wages due to them;

i)   An award of prejudgment and post-judgment interest;


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j)    An award of costs and expenses of this action, together with

      reasonable attorneys’ and expert fees; and

k)    Such other and further relief as this Court deems just and proper.

Respectfully submitted this 4th day of November 2021.

                                       /s/ Justin M. Scott
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